                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

  NICHOLAS DAINIAK, M.D.,            )
                                     )
             Plaintiff,              )
                                     )
  v.                                 )                         No. 3:19-CV-168-CEA-HBG
                                     )
  OAK RIDGE ASSOCIATED UNIVERSITIES, )
  (“ORAU”),                          )
                                     )
            Defendant.               )

                                              ORDER

         This case is before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court,

  and Standing Order 13-02.

         Now before the Court is Plaintiff’s Motion to File Additional Documents Under Seal Filed

  in Support of Plaintiff’s Response in Opposition to Defendant’s Motion for Summary Judgment,

  and to Remain Sealed Until the Court Determines if and When the Documents Should Be Unsealed

  (“Motion to File Under Seal”) [Doc. 82]. Specifically, Plaintiff moves to file the following

  documents under seal: [Doc. 77-2], [Doc. 77-3], [Doc. 77-4], [Doc. 77-5], [Doc. 77-6], [Doc. 77-

  17], and [Doc. 77-18]. Plaintiff states that none of these emails and documents should be sealed,

  but Defendant has requested that they be filed under seal.

         Defendant responded [Doc. 94] to the Motion, stating that documents containing the

  following Bates Nos. should be sealed: 7199-7200, 7204, 7207-7215, and 7225-7228. Defendant

  submits that these pages are contained in [Doc. 77-18]. Defendant requests that the documents

  remain sealed because they discuss a patient.

         The Court will allow the documents with Bates Nos. 7199-7200, 7204, 7207-7215, and

  7225-7228 to be filed under seal in the interests of privacy. The Court notes, however, that these




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  documents are not actually contained in [Doc. 77-18]. Instead, and for example, Plaintiff filed a

  page stating that Defendant requested “ORAU 7199 -ORAU 7200” to be filed under seal. [Doc.

  77-18 at 4]. On another page, Plaintiff states, “Defendant has requested ORAU 7207 -ORAU 7228

  be filed under seal.” [Id. at 11]. In the instant response, Defendant does not include Bates Nos.

  7216-7224 in its request.

         Accordingly, Plaintiff’s Motion to File Under Seal [Doc. 82] is DENIED. The Clerk is

  DIRECTED to UNSEAL the following documents: [Doc. 77-2], [Doc. 77-3], [Doc. 77-4], [Doc.

  77-5], [Doc. 77-6], [Doc. 77-17], and [Doc. 77-18]. In order to correct the above issues, the parties

  SHALL refile [Doc. 77-18] in its entirety, which the Clerk SHALL place under SEAL.

         IT IS SO ORDERED.

                                                ENTER:


                                                United States Magistrate Judge




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